  Case 3:25-cv-00595-H-DEB             Document 4        Filed 03/20/25    PageID.58      Page 1 of 2
                            United States District Court
                               SOUTHERN DISTRICT OF CALIFORNIA
See attachment
                                                              Case No.    25-cv-00595-H-DEB
                                                Plaintiff,
                                         V.
                                                                  NOTICE OF RELATED CASE
Does 1 through 50, inclusive

                                              Defendant.

                       REPORT OF CLERK PURSUANT TO RELATED CASE
Re:      "Low-Numbered" Case No.:        24-cv-02464-RSH-BLM
         Title:   Bell v. DeVry University, Inc. et al


The above "low-numbered" case and the present case appear to be related.


Within 7 days of receiving service of this document, or within 7 days of first appearing in this case,
whichever is later, any party may file and serve an Objection pursuant to Civ. LR 40.1.g. Any other
party may file a Reply within 7 days of such Objection.
The judges assigned to the cases identified as related will decide if the cases are related within 7 days
after the response is due. If all of the judges agree that the appropriate criteria are met, a Low Number
Order will issue.




                                                                            John Morrill, Clerk of Court,
Dated:            3/20/25                                      By: s/ M.Williams
                                                                                     M.Williams, Deputy
      Case 3:25-cv-00595-H-DEB            Document 4        Filed 03/20/25      PageID.59       Page 2 of 2
                                                                                                                   (Page 2)


                           United States District Court
                                 SOUTHERN DISTRICT OF CALIFORNIA

                                              (ATTACHMENT)

                                                                        Civil Action No. 25-cv-0595-H-DEB


Plaintiff's: Delainya Bell, on behalf of others similarly situated and the State of California under the Private
Attorneys General Act; DeVry University, Inc..
